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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PATRICIA SCHOUPPE, : 3:16cv290
Plaintiff :
(Judge Munley)
V.

BLAKESLEE POST OFFICE:
US POST OFFICE: KIRBY UPRIGHT,
d/b/al LAMPLIGHTER ASSOCIATES:
and KIRBY UPRIGHT, d/b/a
LAMPLIGHTER ASSOCIATES GP,
Defendants

 

A review of the docket in the above-captioned matter reveals that
on August 12, 2016, Plaintiff Patricia Schouppe filed a motion to stay this
case pending resolution of her administrative claim pursuant to the
Federal Tort Claims Act (hereinafter “FTCA”), 28 U.S.C. §§ 2671-80.
(Doc. 25). “The power to stay is incidental to the power inherent in every
court to dispose of cases so as to promote their fair and efficient
adjudication.” U.S. v. Breyer, 41 F.3d 884, 893 (3d Cir. 1994). A “stay” is
an extraordinary measure that should be granted upon a showing of
compelling reasons for its issuance. Id.

In the instant matter, plaintiff argues that a stay is appropriate
because she is actively pursuing an administrative claim against the
government defendants pursuant to the FTCA. The government does not
oppose a stay. Rather, the government's non-concurrence arises from
the U.S. Post Office Agency Counsel's failure to respond to the
government attorney’s diligent requests to obtain concurrence over the

past two (2) months.

 

 
 

 

 

 

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After a careful review, we will grant the plaintiff's motion for a stay.
Defendants will not be prejudiced by a stay, and we accept plaintiff's
assertion that she is diligently pursuing her administrative claim under the
FTCA. Thus, the stay serves the purposes of judicial economy and may
ultimately benefit all parties involved.

Accordingly, it is hereby ORDERED that plaintiff's motion for a stay
(Doc. 25) is GRANTED. The plaintiff is DIRECTED to file a status report
regarding the disposition of her administrative claim every sixty (60) days,
until her administrative claim is resolved. The Clerk of Court is directed to

stay and administratively close this case.

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